                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                      _____________________________

                           Case No. 6D2023-3510
                        Lower Tribunal No. CF 23-243
                      _____________________________

                           OSCAR DANIEL SANCHEZ,

                                  Appellant,
                                      v.

                              STATE OF FLORIDA,

                                  Appellee.
                      _____________________________

              Appeal from the Circuit Court for Highlands County.
                          Angela J. Cowden, Judge.

                               August 27, 2024

PER CURIAM.

      AFFIRMED.

TRAVER, C.J., and NARDELLA and WHITE, JJ., concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Pamela H. Izakowitz, Assistant
Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Wendy Buffington, Assistant
Attorney General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
